Case 1:05-cv-01006-.]DT-STA Document 11 Filed 07/28/05 Page 1 of 2 Page|D 12

lJP{YTiEE)EST¥\TTEEi[)HSTT¥H:T'(:C)LHRT'
WESTERN DISTRICT OF TENNESSEE
Eastcrn Division

SHARON KIMBRELL ASHLEY,
Individually and as the Next of Kin to

.nMMY KtMBRELL, Deceased JUDGMENT lN A ClVlL CASE

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THE STA']`E OF TENNESSEE d/b/a 7 F
NORTHWEST CORRECTIONAL ““ ; -r ')

 

CENTER and d/b/a NORTHWEST §Li:-‘

CoRRECTIoNAL CENTER MEDICAL §§ §

CLINIC, and JOI-IN DOE, in his official Z

capacity as an Employce/Agent/Servant of “" g
CASE NUMBER: 05-lOOB-T/An

Northwest Correctional Ccnter

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been renderedl

lT |S ORDERED AND ADJUDGED that in compliance With the orders entered in
the above-styled matter on Ju|y 11, 2005 and Ju|y 22, 2005, the State of Tennessee's
motion to dismiss is GRANTED. All claims against John Doe 1-5 are DISM|SSED.

This cause is hereby D|Sl\/l|SSED.
APPROVED:

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JAM' itioDD
UNI DSTATESDBTRKHJUDGE

THOMAS M`. -GOULD 7

 

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DATE(

This document entered on the docket sheet in compliance

with Ruie 58 and/or 79(3} FRCP on 1 f &;u §§ 2 .

DISTRICT OURT - WESTER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
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Honorable J ames Todd
US DISTRICT COURT

